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EE

Brennen Hurt for BRENNEN HURT Date:03/01/2023
1830 Charleston Estates dr.

Florissant, MO, 63031

ATTN: CFO Jason Kulas (chief financial officer)

| Hurt;Brennen- Michael/ agent here on behalf of principal BRENNEN HURT. I hereby accept all Rights,
Titles, and Interest in equity owed to principal BRENNEN HURT. | would like to utilize the principals
balance to apply to the principals account #3758571 for set off. | hereby instruct CFO (Chief Financial
Officer) Jason Kulas of Exeter to apply the principals balance to the principals account #3758571 for
set off.

If these instructions cannot be honored, please respond through postal mail giving details for non-
acceptance. 5 days is enough time for you to get back with me to the above address. If you do not
send me anything back in 5 days, it stands that you have accepted my offer and moving forward also
applying the above instructions. Also if you can update the info you have on my credit report, no late
payments and no repo. Thanks in advance.

Hurt; Brennen-Michael/Agent (without recourse)

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Aq E xeter Dato of Notice: Caters

Contract (“Agreement”) Date: 03/08/2021
eanerens — =e rece “Vehicle” Year/Make/Model: 16 HONDA ODYSSEY
Vehicle Identification Number: 5FNRLSH33GBO8T145
Contract Number: 3758571
DANIELLE HURT eSSile Ni
BRENNEN HURT
4830 CHARLESTON ESTATES DR 0) 800-321-9637 © Hours (Central Standard Time)
FLORISSANT, MO 630310000 Sl www.exeterfinance.com 8AM-7PM Monday-Friday
| 8AM-5PM Saturday
f / do ve Keaver
Payoff Quote

Dear BRENNEN HURT,

Thank you for contacting us. Here is the payoff quote that you requested:

Name: DANIELLE HURT |

Contract Number: 3758571 a it <<
Vehicle: 16 HONDA ODYSSEY $13,

VIN #: 5FNRLSH33GB081145

Payoff Quote: 13,767. XY

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The quote is good through 04/05/2023. After this date, the principal balance will continue to accrue interest at $0.00 per
day. Dependent on the state the vehicle is titled in, Exeter Finance LLC, will release 45 days after your account is paid
in full (or earlier as required by state-law). Please note any change impacting the balance, such as a payment reversal,
for example, will render the above-quoted payoff a invalid.

Please remit your payoff funds to the following address(s).

Standard Delivery Overnight Delivery

Exeter Finance LLC Exeter Finance LLC

PO BOX 650693 2701 E GRAUWYLER RD BLDG 1
DALLAS, TX 75265-0693 IRVING, TX 75061

If you have any questions or need additional information, please call us at 800-321-9637.
Sincerely,
Exeter Finance LLC

customerservice@exeterfinance.com

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by thos Brennen - WM icherel| Agen ey Deewvew P

Revision Date | 06.30.2021 Payoff Quote

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Your item has been delivered and is available at a PO Box at 9:59 am on March 4, 2023 in IRVING, TX
75016.

Get More Out of USPS Tracking:
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USPS Tracking Plus® Ev &

IRVING, TX 75016 ber

March 4, 2023, 9:59 am

See All Tracking History

Text & Email Updates N

USPS Tracking Plus®

Product Information

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OBrennen Hurt 03/17/2023

1830 Charleston Estates dr.

Florissant, MO, 63031

ATTN: CFO Jason Kulas (chief financial officer)
Exeter

Irving, TX, 75016

Notice Opportunity to Cure

Dear Jason Kulas on March 4" 2023,at 9:59 am a letter was delivered to your address of business, with
Attention to you. You were sent a tender of payment, instruction, a power of attorney and a copy of an
endorsed bill. All these items were sent and addressed to you for your attention immediately to set off
an account for the principal BRENNEN HURT. CFO Jason Kulas has yet to get back with me on the
instructions you were given. | gave you 5 business days to complete a task or get back with me on why
you aren’t applying the instructions you were given. Ba advised Jason Kulas, I’m now sending a notice to
cure.

This notice is to inform Jason kulas to apply the Principals account balance BRENNEN HURT to the
ACCOUNT # 3758571 for set off. Again | will give you 5 days to cure and apply the instructions that are
being sent again along with this notice for opportunity to cure. You have 5 business days to apply the
instructions or write to me telling me why you refuse or choose not to fulfil your performance. | would
like to know why in 5 business days. If | don’t receive anything back in 5 business days, its assumed that
you will be applying the instructions you were given.

ve also attached a copy of the federal reserve act section 29 part 1. Please go over the material, and
reply in a timely manner. 5 days.

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Federal Reserve Act

Section 29. Civil Money Penalty

(a) First Tier. Any member bank which, and any institution-affiliated party (within the
meaning of section 3(u) of the Federal Deposit Insurance Act) with respect to such
member bank who, violates any provision of section 22, 23A, or 23B, or any regulation
issued pursuant thereto, shall forfeit and pay a civil penalty of not more than $5,000 for
each day during which such violation continues.

[12 USC 504(a). As added by act of Nov. 10, 1978 (92 Stat. 3641) and amended by
acts of Oct. 15, 1982 (96 Stat. 1523) and Aug. 9, 1989 (103 Stat. 470).]

(b) Second Tier. Notwithstanding subsection (a), any member bank which, and any
institution-affiliated party (within the meaning of section 3(u) of the Federal Deposit
Insurance Act) with respect to such member bank who

1.
A. commits any violation described in subsection (a);
. recklessly engages in an unsafe or unsound practice in conducting the affairs of such member

B
Ne bank; or
~© breaches any fiduciary duty;
2. which violation, practice, or breach

—S A._ is part of a pattern of misconduct;
B. causes orisTi 0 cause more than a minimal loss to such member bank; or

C. results in pecuniary gain or other benefit to such party,

shall forfeit and pay a civil penalty of not more than $25,000 for each day during which

such violation, practice, or breach continues.

[12 USC 504(b). As added by act of Nov. 10, 1978 (92 Stat. 3641) and amended by act
\ of Aug. 9, 1989 (103 Stat. 470).]

otwithstanding subsections (a) and (b), any member bank which, and
Affiliated party (within the meaning of section 3(u) of the Federal Deposit

ct) with respect to such member bank who--

CL troingy—>
x. commits any violation described in subsection (a);

—“—> engages in any unsafe or unsound practice in conducting the affairs of such credit union; or
eo breaches any fiduciary duty; and
2. knowingly or recklessly causes a substantial loss to such credit union or a substantial pecuniary gain
or other benefit to such party by reason of such violation, practice, or breach,

shall forfeit and pay a civil penalty in an amount not to exceed the applicable maximum
amount determined under subsection (d) for each day during which such violation,
practice, or breach continues.

i 75038.
Your item was picked up at a postal facility at 11:51 am on March 18, 2023 in IRVING, TX

Get More Out of USPS Tracking:

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Oye
IRVING, TX 75038 S

March 18, 2023, 11:51 am

See All Tracking History

Text & Email Updates

USPS Tracking Plus®

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Product Information

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